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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

KELLY DWYER                              §
                                         §
      v.                                 §                    C.A. Number: ________
                                         §
UNITEDHEALTHCARE                         §
INSURANCE COMPANY                        §

                          PLAINTIFF’S ORIGINAL COMPLAINT

      Plaintiff Kelly Dwyer files this Original Complaint asserting causes of action in law

and equity for relief against Defendant UnitedHealthcare Insurance Company.

                                          I.
                                       PARTIES

1.    Plaintiff, Kelly Dwyer, is a resident of Austin, Texas. He brings this action to

      recover benefits for his minor daughter’s treatment of a severe mental illness.

      Pursuant to Federal Rule of Civil Procedure 5.2, Plaintiff’s daughter is referenced

      by her initials, E.D.

2.    Defendant, UnitedHealthcare Insurance Company (“UnitedHealthcare”), is a

      domestic or foreign company licensed to do business and doing business in the

      state of Texas. It can be served with process by serving its registered agent,

      Corporation Service Company, 211 East 7th Street Suite 620, Austin, TX 78701-

      3218, or wherever it may be found.

                                        II.
                              JURISDICTION AND VENUE

3.    This action against UnitedHealthcare arises under the Employee Retirement

      Income Security Act of 1974 (“ERISA”), 29 U.S.C. §1001 et seq. This Court has

      jurisdiction over this action pursuant to 29 U.S.C. §1132(e)(1).
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4.    Venue is proper in this District and Division pursuant to 29 U.S.C. §1132(e)(2)

      because UnitedHealthcare maintains business activity in and may be found in this

      district.


5.    Pursuant to 29 U.S.C. §1132(h), this Complaint has been served upon the Secretary

      of Labor, Pension and Welfare Benefits Administration at 200 Constitution

      Avenue N.W., Washington, D.C. 20210 and the Secretary of the Treasury at 111

      Constitution Avenue N.W., Washington, D.C. 20024, by certified mail return

      receipt requested.

                                    III.
                             STATEMENT OF FACTS

6.    Plaintiff was at all relevant times a covered beneficiary under an employee welfare

      benefit plan (“Plan”). Plaintiff and his daughter were entitled to health care

      benefits under the Plan.

7.    UnitedHealthcare was the insurer and Plan Administrator of the Plan.

8.    In February 2015, Plaintiff’s daughter, E.D., suffered from anorexia nervosa,

      generalized anxiety disorder, major depressive disorder, and social phobia. She

      had severe malnutrition and bradycardia (low heart rate). She was 14 years old.

9.    E.D. did not improve with an outpatient treatment team specialized in treating

      eating disorders. Her physician recommended residential treatment.

10.   E.D. was admitted to residential treatment at Avalon Hills Treatment Center

      (“Avalon Hills”) on February 25, 2015. Upon admission, E.D. exhibited eating

      disorder behaviors such as taking small and slow bites of food, underplating her

      food, trying to “ditch food,” and unnecessary leg shaking, muscle flexing, and
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      movement intended to burn calories. Her blood work showed several

      abnormalities. She was 5’2” and weighed 75.8 lbs.

11.   United Behavioral Health (“UBH”) authorized benefits for E.D.’s residential

      treatment from her admission on February 25, 2015 until June 11, 2015. On June

      11, 2015, UBH denied further benefits for residential treatment.

12.   Although UBH acted as a Claims Administrator for Plaintiff’s claims, UBH is not

      designated as Claims Administrator in the Plan.

13.   On June 18, 2015, Avalon Hills’ staff members Dr. Sara Boghosian and Chad Speth,

      and E.D.’s outpatient physician, Dr. Ed Tyson, had an expedited appeal telephone

      call with UBH employee Dr. Sherrel Jones. Avalon Hills’s staff reported that E.D.

      had a very distorted body image and weight gain had increased her distress. Her

      eating disorder behaviors included constant movement, over-exercise, and trying

      to “ditch” calories. E.D. was not taking redirection well, and at times it took several

      redirections for E.D. to listen. E.D. told Avalon Hills’ clinicians that she wanted to

      go home, where she would restrict food and lose weight immediately. Lab results

      showed a low red blood count, low hemoglobin, and low blood pressure.

14.   UBH denied further benefits for E.D.’s residential treatment.

15.   Due to UBH’s denial, E.D. transitioned to partial hospitalization at Avalon Hills on

      June 19, 2015.

16.   UBH initially authorized benefits for E.D.’s partial hospitalization and continued

      to approve benefits for partial hospitalization in 3 to 7 day increments.

17.   On July 22, 2015, Avalon Hills’ staff members Dr. Jenna Glover and Chad Speth

      had a peer to peer telephone call with UBH employee Dr. Michael Seay. Avalon

      Hills’ staff reported that E.D. still had low blood pressure, weighed 117 lbs. at height
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      of 5’3”, and lost 2 lbs. during a pass with her family. During that pass, E.D. had a

      breakdown in a dressing room while shopping with her mother, and it took several

      hours for her to recover.

18.   UBH denied further authorization for E.D.’s partial hospitalization. Avalon Hills

      requested an expedited appeal.

19.   On July 24, 2015, Avalon Hills’ staff members Dr. Jenna Glover and Chad Speth,

      and E.D.’s outpatient physician, Dr. Ed Tyson, had a telephone appeal review with

      UBH employee Dr. Barbara Center. Avalon Hills’ staff reported that E.D. was

      starting to make up the 2 lbs. that she lost while on pass and again explained the

      terrible shopping experience caused by E.D.’s body image. She struggled with

      impulse control. Her lab results were abnormal, and she was anemic. Avalon Hills

      also stated that E.D.’s brain was still suffering from malnutrition.

20.   UBH denied the expedited appeal and confirmed its denial in a letter dated July

      24, 2015.

21.   E.D. remained in partial hospitalization treatment at Avalon Hills until her

      discharge on September 11, 2015.

22.   Plaintiff incurred the costs of E.D.’s treatment at Avalon Hills.

23.   Avalon Hills submitted claims to UnitedHealthcare pursuant to its negotiated

      contract with Multiplan Network, a service utilized by insurers to negotiate out-of-

      network rates.

24.   UnitedHealthcare did not pay Plaintiff’s claims at the negotiated Multiplan rate.

25.   On August 5, 2015, Plaintiff submitted a written appeal to UnitedHealthcare

      requesting that it pay the claims based on the negotiated Multiplan rate.

26.   UBH has still not responded to Plaintiff’s August 5, 2015 appeal.
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27.     Upon discharge, E.D. resumed outpatient services from her physician, Dr. Ed

        Tyson, who specializes in the treatment of patients with eating disorders.

28.     Plaintiff requested that UnitedHealthcare issue a gap exception1 for Dr. Tyson

        because he was the only physician in E.D.’s geographical area who was qualified to

        treat adolescents with eating disorders. Plaintiff asked UnitedHealthcare to

        reimburse Dr. Tyson as an in-network provider because of his unique

        specialization with eating disorders.

29.     In March 2016, UnitedHealthcare’s Kevin Jaques informed Plaintiff by telephone

        that UnitedHealthcare denied the request for a gap exception for Dr. Tyson.

30.     Plaintiff made several requests to UnitedHealthcare for a written denial letter

        regarding the gap exception. To date, UnitedHealthcare has not provided a copy of

        the denial letter to Plaintiff.

31.     UnitedHealthcare paid claims for Dr. Tyson’s services as an out-of-network

        physician.

32.     On June 1, 2016, Plaintiff submitted a written appeal to UnitedHealthcare

        requesting that UnitedHealthcare issue a gap exception and reimburse Dr. Tyson

        as a network physician because UnitedHealthcare did not have any in-network

        physicians who specialize in the treatment of patients with eating disorders.

33.     On June 25, 2016, UnitedHealthcare denied the appeal, stating that Dr. Tyson was

        properly paid as an out-of-network provider. UnitedHealthcare did not respond to

        the request for a gap exception.




1
  A gap exception is a waiver from a health insurance company that allows patients to receive services from an out-
of-network provider at an in-network rate due to gaps in the insurer’s network of healthcare providers.
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34.   On August 23, 2016, Plaintiff submitted a written second level appeal. Plaintiff’s

      request for a gap exception was based on UnitedHealthcare having no in-network

      physician within his geographical area who specialized in the medical evaluation

      and treatment of patients with eating disorders. Plaintiff noted that when he

      requested the gap exception, UnitedHealthcare instead referred him to E.D.’s own

      pediatrician, Dr. Thomas B. Dawson. However, Dr. Dawson had referred E.D. to

      Dr. Tyson, because Dr. Dawson knew that he was under-qualified to treat E.D.

      because he lacked the training, experience, and qualifications to treat patients with

      eating disorders.

35.   On October 28, 2016, UnitedHealthcare denied the second level appeal, claiming

      that it was not received within 60 days of the denial notice.

36.   Plaintiff’s August 23, 2016 letter was served by certified mail and faxed to

      UnitedHealthcare on August 23, 2016.

37.   Plaintiff sent his August 23, 2016 letter less than 59 days from the date he received

      UnitedHealthcare’s June 25, 2016 letter denying his appeal.

38.   Having exhausted his administrative remedies, Plaintiff brings this action to

      recover the health coverage benefits promised in the Policy and the Plan.

                                      IV.
                          CLAIM FOR DENIAL OF BENEFITS

39.   UnitedHealthcare and/or UBH wrongfully denied E.D.’s claims for medical

      benefits at a time when UnitedHealthcare and/or UBH knew, or should have

      known, that E.D. was entitled to those benefits under the Plan terms.

40.   UnitedHealthcare and/or UBH failed to provide prompt and reasonable

      explanations of the bases relied on under the terms of the Plan, in relation to the
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      applicable facts and plan provisions, for the denial of E.D.’s claims for medical

      benefits.

41.   UnitedHealthcare and/or UBH failed to properly and adequately investigate the

      merits of E.D.’s health claims and failed to provide her with a full and fair review

      pursuant to 29 C.F.R.§2560.501-1 (h)(3)(iii) by failing to consult with health care

      professionals with appropriate training and experience in the field of medicine

      involved in the medical judgment.

42.   UnitedHealthcare and/or UBH’s medical reviewers failed to thoroughly and

      independently evaluate E.D. and her medical records before denying Plaintiff’s

      claim and appeal.

43.   On information and belief, UnitedHealthcare and/or UBH wrongfully denied

      E.D.’s claims for health benefits by other acts or omissions of which Plaintiff is

      presently unaware, but which may be discovered in litigation and which he will

      immediately make Defendant aware of once said acts or omissions are discovered

      by him.

44.   As a proximate result of the denial of E.D.’s medical benefits, Plaintiff has been

      damaged in the amount of all of the medical bills incurred, in a total sum exceeding

      $110,000.00, with exact damages to be proven at the time of trial.

45.   The wrongful conduct of UnitedHealthcare and/or UBH has created uncertainty

      where none should exist; therefore, Plaintiff is entitled to enforce his daughter’s

      rights under the terms of the Plan and to clarify her right to future benefits under

      the terms of the Plan.
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                                      V.
                          CLAIM FOR EQUITABLE RELIEF

44.   As a direct and proximate result of UnitedHealthcare’s failure to pay for E.D.’s

      medical benefits, and the resulting injuries and damages sustained by her as

      alleged herein, Plaintiff is entitled to and hereby requests that this Court grant him

      the following relief pursuant to 29 U.S.C. § 1132(a)(1)(B):

      (a)      Restitution of all past benefits due for E.D.’s treatment at Avalon Hills and

               with Dr. Tyson, and prejudgment and post-judgment interest at the lawful

               rate;

      (b)      A mandatory injunction requiring UnitedHealthcare to immediately qualify

               Plaintiff for medical benefits due and owing under the Plan;

      (c)      A determination that overturns UnitedHealthcare’s denial(s) of benefits;

      (d)      Such other and further relief as the Court deems necessary and proper to

               protect Plaintiff’s interests as a participant under the Plan.


                                       VI.
                                STANDARD OF REVIEW

45.   The default standard of review for denial of a benefit claim is de novo. When the

      Plan or Policy confers discretion on the Claims Administrator, an abuse of

      discretion standard of review may apply.

46.   The Policy may contain a discretionary clause or language UnitedHealthcare may

      construe as affording it discretion to determine eligibility for benefits, to interpret

      the terms of the Policy, and determine the facts. UnitedHealthcare’s denial under

      this standard of review, if any, was an abuse of discretion. It was arbitrary and

      capricious.
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47.   If discretion applies, the Court should afford UnitedHealthcare less deference in

      light of its financial conflict of interest. UnitedHealthcare’s conflict of interest is

      both structural and actual. Its structural conflict results from its dual role as the

      adjudicator of Plaintiff’s claim and as the potential payor of that claim.

48.   UnitedHealthcare’s actual financial conflict is revealed in the policies, practices,

      and procedures influencing and motivating claim delays and denials for financial

      gain. UnitedHealthcare’s financial conflict is also revealed in the high return

      gained from the delay in payment or denial of claims.

49.   Each of these grounds, on information and belief, was a motive to deny Plaintiff’s

      claim, along with the delay in payment or denial of claims of other

      UnitedHealthcare policyholders and claimants.

50.   UnitedHealthcare, in light of its financial conflict, should be accorded little or no

      discretion in its claims decision.

51.   Alternatively, the standard of review of this claim should be de novo, affording

      UnitedHealthcare no discretion in its interpretation of the terms of the Policy and

      Plan, nor in its factual determinations.

46.   UBH denied E.D.’s residential treatment beyond June 11, 2015. It also denied

      E.D.’s claim for partial hospitalization. UBH also denied her expedited appeal.

52.   Although UBH acted as a Claims Administrator for Plaintiff’s claims, UBH is not

      designated as Claims Administrator in the Plan. There is no evidence that

      UnitedHealthcare made the decision to deny E.D.’s residential treatment or partial

      hospitalization treatment claims.

53.   The failure of an Administrator to actually exercise discretion granted to it

      warrants de novo review. Seman v. FMC Corp. Retirement Plan For Hourly


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      Employees, 334 F.3d 728, 733 (8th Cir. 2003) (“When a plan administrator denies

      a participant’s initial application for benefits and the review panel fails to act on

      the participant’s properly filed appeal, the administrator’s decision is subject to

      judicial review, and the standard of review will be de novo”).

54.   Pursuant to Texas Ins. Code. Art. 21.42, Texas law applies under the ERISA savings

      clause. Texas has banned the use of discretionary clauses in insurance policies

      issued in this state. Tex. Ins. Code §1701.062; 28 Tex. Admin. Code §3.1202.

      Accordingly, review of Plaintiff’s claim and UnitedHealthcare and/or UBH’s claims

      handling conduct both in their interpretation of terms of the Policy and the Plan,

      and in their determination of the facts, should be de novo.

                                  VII.
                    CLAIM FOR ATTORNEYS FEES & COSTS
55.   Plaintiff seeks an award of his reasonable attorneys’ fees incurred and to be

      incurred in the prosecution of this claim for benefits. He is entitled to recover those

      fees together with his costs of court pursuant to 29 U.S.C. §1132(g).


                                          VIII.
                                         PRAYER
54.   Plaintiff respectfully prays that upon trial of this matter, this Court find in his favor

      and against Defendant and issue judgment against Defendant as follows:

      (a)    That Defendant pay to Plaintiff all benefits due and owing consistent with

             the terms of the Plan, as well as all interest due thereon and as allowed by

             law;

      (b)    That Defendant pay all reasonable attorneys’ fees incurred and to be

             incurred in obtaining the relief sought herein, along with the costs

             associated with the prosecution of this matter; and




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(c)   For all other such relief, whether at law or in equity, to which Plaintiff may

      show himself justly entitled.




                                  Respectfully submitted,

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